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IN THE UNITED sTATEs DIsTRICT CoURT F"-ED E`f ".Qj:m o.c_
FoR THE WESTERN DISTRICT 0F TENNESSEE

 

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LECTROLARM CUsToM )
sYsTEMs, INC., )
Plaintirf, §
v. § No. 03-2330 Ma/An
vlcoN INDUSTRIES, INC., et al., §
Defendants. §

 

ORDER DENYING MOTION TO COMPEL RESPONSES BY
SENSORMATIC, BOSCH AND VIC()N TO INTERROGATORIES AND
REQUESTS FOR ADMISSIONS

 

Before the Court is Lectrolarm’s Motion to Compel Responses by Sensonnatic, Bosch
and Vicon to Interrogatories and Requests for Admissions filed on May 10, 2005. For the
reasons set forth below, the Motion is DENIED.

BACKGROUND

Plaintiff Lectrolarm Custom Systems, Inc. (“Plaintift" or “Lectrolarm”) initiated this
action against fourteen Defendants on May 8, 2003 alleging infringement by Defendants of a
patent owned by Plaintifi'“.l Service of process was executed upon twelve of the fourteen
Defendants, and eight Defendants have since been dismissed by agreement of the parties The

remaining four Det`endants tiled Answers to the Complaint and Counter-Claims.2

 

l United States Patent Number 4,974,088 (“the ‘088 patent”) relates to a remote control apparatus for
regulating the rotation of a monitoring television camera in the horizontal and vertical directions

2 The remaining four Defendants are GE Interlogix, Inc., Vicon Industries, Inc., Sensormatic Electrom`cs
Corporation and Bosch Security Systems, Inc.

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This motion stems from a previous discovery dispute between Lectrolarm and Defendant
GE lnterlogix, Inc. (“GE”) concerning Interrogatories and Requests for Admissicn. Lectrolarm
filed a motion to compel against GE on September 20, 2004, and on March 24, 2005, the
Undersigned entered an Order requiring GE to supplement certain discovery responses Up until
the Court entered the March 25, 2005 Order, Plaintiff did not file a discovery motion requesting
that the Court enter a similar Order against Def`endants Vicon Industries, Inc. (“Vicon”),
Sensormatic Electronics Corporation (“Sensormatic”) or Bosch Security Systems, lnc. (“Bosch”).
Plaintiff did not file a motion to compel against these three Defendants (collectively
“Defendants”) even though Plaintif`f claims they supplied it with deficient discovery responses

This motion centers around three lnterrogatories, Nos. 2, 7 and Sa, and around Plaintist
First Set of Requests for Admissions, served on Defendants on July 9, 2004. The Def`endants
served responses tc the interrogatories and requests for admission, but as already mentioned,
Plaintiff did not file a motion to compel against any of the Def`endants. After the Court entered
its March 25, 2005 Order, however, Plaintiff` requested that the Defendants supply more
complete discovery responses The Defendants have refused to provide additional or more
complete responses, so Plaintif`f filed the instant Motion With the Court.

Plaintif`f argues that immediate responses to the discovery requests are required because
the Undersigned required GE to provide supplemental and more complete discovery responses
All three Defendants responded to the Motion, and the Defendants provide numerous arguments
as to why the Motion to Compel should not be granted. Multiple parties were granted leave of

court to file reply memoranda

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ANALYSIS

This motion involves both interrogatories and requests f`or admissions When dealing
With all discovery requests, “[p]arties may obtain discovery regarding any matter, not privileged,
that is relevant to the claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(l). Relevancy
means that the evidence “appears reasonably calculated to lead to the discovery cf admissible
evidence.” Fed. R. Civ. P. 26(b)(]); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097
(6th Cir. 1994). The Court should broadly interpret whether evidence is relevant See
Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 n.12 (1978) (quoting 4 J. Moore, Federal
Practice § 26.96[1], at 26-131 n.34 (2d ed. 1976)). Moreover, in this Circuit, the scope of
discovery is extremely broad under the F ederal Rules of Civil Procedure and “is . . . within the
broad discretion of the trial court.” Lewis v. ACB Business Servs. Inc., 135 F.3d 389, 402 (6th
Cir. 1998). Thus, interrogatories should be answered if the response is not privileged and
appears reasonably calculated to lead to the discovery of admissible evidence.

A request for admission under F ederal Rule of Civil Procedure 36 is a time-saving
device, designed to narrow the particular issues for trial. See Fed. R. Civ. P. 36 advisory
committee’s notes; see also United Coal Cos. v. Powell Conslr. Co., 839 F.2d 958, 967 (3d Cir.
198 8) (internal citations omitted). “The purpose of Rule 36 . . . is to require admission of matters
which ought to be admitted, or Which Will not be disputed at the trial, so that the time, trouble
and expense required to prove them may be avoided.” Metropolz`mn Ll`fe ]ns. Co. v. Carr, 169 F.
Supp. 377, 378 (D. Md. 1959). A request for admission “should be confined to facts that are not

in material dispute.” United States v. Warchmakers ofSwt'rzerland lnfo. Cent., Inc., 25 F.R.D.

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197, 201 (S.D.N.Y. 1959). Requests for admission should be capable of being answered by a yes
or no. See Johnslone v. Cron!und, 25 F.R.D. 42, 45 (D. Pa.1960).

Although these discovery requests might involve relevant evidence, Plaintiff`s Motion
against the Defendants is untimely. While the scope of discovery is broad in this Circuit, a party
should not be allowed to demand information from another party beyond certain deadlines This
motion involves discovery responses that Were supplied to Plaintiff in the fall of 2003 and in the
summer of 2004. No motion to compel, however, was filed against the Defendants after Plaintiff
reviewed the interrogatory responses and Plaintiff did not attempt to schedule a meet and confer
with any of the Defendants after receiving their responses Similar results occurred after Plaintiff
received Defendants’ responses to the Requests for Admissions.

The Court finds it troublesome that Plaintiff was in possession of the Defendants’
discovery responses but failed to include any of the three remaining Defendants in the initial
motion to compel filed against GE. Plaintiff argues in its Reply Brief that “[r]ather than flood
this Court with a deluge of motions, Lectrolarm waited to hear the outcome fo that motion before
targeting the other defendants on the same issues.” Lectrolarm’s Reply Brief, at 4. Plaintiff
claims it decided to not include all four defendants because it wanted “to reduce the burden on all
patties.” [d. Nevertheless, there is no requirement in the F ederal Rules of Civil Procedure or the
Local Rules of this Court that states a party must file a motion only against one opposing party
before waiting to see if the same legal requirement is applicable to all other opposing parties
Also, while Plaintiff stated in its Reply Brief that there was an understanding between it and the
four defendants in this case requiring one legal ruling to apply to all involved parties, no such

requirement has been ordered by the Court. Plaintiff had no problem filing the instant motion

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against three defendants; therefore, the Court concludes it could have easily filed the initial
motion to compel against all four defendants if Plaintiff had a problem with all of the
Defendants’ responses

Both Sensonnatic and Bosch were not informed of any deficiencies in their discovery
responses On November 12, 2004, Plaintiff’s counsel sent a letter to Sensormatic’s counsel
addressing all discovery issues outstanding between the two parties See Sensormatic’s Opp’n to
Mot. to Compel, at 4. That letter listed the following issues: “(l) postponing the deposition of a
Sensormatic employee pending the production of updated financial summaries, (2) requesting the
production of schematics for certain controller products that Lectrolarm had identified in its
Court-ordered listing of accused products and (3) scheduling 30(b)(6) and individual
depositions.” Id at 4. Plaintiff did not list Sensormatic’s interrogatory and request for admission
responses as pending problems Furthermore, Plaintiff went on to request additional discovery
from Sensormatic well after it had received Sensormatic’s discovery responses; however,
Plaintiff did not ask Sensormatic to supplement the responses to Interrogatory Nos. 2, 7, or 8a or
supplement the responses to the requests for admissions

ln its Response, Bosch informs the Court that the parties conducted a meet and confer on
February 25 , 2005 at Plaintiff’s counsel’s office Although this meet and confer lasted almost a
full day, Plaintif “never raised any issue With respect to Bosch’s responses to the requests for
admissions or Interrogatory Nos. 2, 7 and 8 that are the subject of this motion.” Bosch Opp’n to
Mot. to Compel, at 4. It was not until after the Court ordered GE to completely respond to the

discovery requests that Plaintiff found deficiencies in Bosch’s responses

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In its Response, Vicon does not address whether Plaintiff informed it that its discovery
responses were deficient However, Vicon does state that it received notice from Lectrolarm,
after the January 2005 discovery deadline, of 420 additional Vicon products that Lectrolarm
claims infringe on the ‘088 patent. See Vicon’s Opp’n to Mot. to Compel, at 4. After “a
substantial monetary and business disruption cost, Vicon substantially completed producing
responsive documents” in May 2005. ld. There is simply no evidence that Vicon was informed
of any deficiencies prior to the Court’s March 2005 Order.

Even more troubling, only days before the Undersigned issued the Order compelling GE
to supplement its discovery responses Plaintiff informed .ludge Mays that “the parties have
completed discovery.” Sensormatic’s Opp’n to Mot. to Compel, at 7. Plaintiff also informed
Judge Mays that “the discovery deadline has passed and the parties are wrapping up the few
remaining issues.” Id. Plaintiff did not take time to inform Judge Mays that it was seriously
prejudiced by deficiencies contained in Defendants’ discovery responses

Rule 16(b) of the F ederal Rules of Civil Procedure require a court to enter certain pre~trial
deadlines in order to expedite the judicial process These deadlines should not be changed absent
a showing of good cause. See Latonia lnge v. Rock Financia[ Corp., 281 F.3d 613, 625 (6th Cir.
2002) (citing Bradford v. Dan‘a Corp., 249 F.3d 807, 809 (Sth Cir. 2001)). The Court’s January
2005 deadline passed before Plaintiff filed this Motion, and the Rule 16(b) Scheduling Order
shows that written discovery is closed in this case. Plaintiff has shown no good cause reason for
considering the instant motion at this late date. Because it waited so long to file the instant

motion and because Defendants were afforded no notice of any potential deficiency until well

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after the deadline for the completion of discovery had passed, the Court concludes that the instant
motion should be denied.

Additionally, the instant motion seeks different information than those contained in the
previously filed motion to compel against GE. For example, the substantive issue in the instant
motion surrounding Interrogatory No. 7 is entirely different than the substantive issues
surrounding Interrogatory No. 7 in the motion to compel against GE. In the first motion,
Lectrolarm wanted GE to provide sales figures contained on old backup tapes, and GE argued it
did not have a means of exporting the data off of the tapes In the instant motion, however,
Plaintiff argues that Sensormatic has not included “a break out of sales data on a product-by-
product basis.” Id. at 9. Plaintiff also argues that “Defendants have not appropriately answered
this interrogatory because none of their responses . . . identifies the specific records from which
the answers may be derived. Id. at 10. Therefore, Plaintiff is addressing different issues in this
motion than in the prior motion.

Because this Motion involves claims and assertions for each Defendant different from
those involving GE, the Court cannot apply the previous Order to this case. Plaintiff should have
either filed a motion to compel against each specific Defendant after receiving the various
discovery responses, or Plaintiff should have informed each Defendant of any deficiencies in its
discovery responses By waiting until four months beyond the close of discovery and even more
months beyond the Defendants’ service of its discovery responses on Plaintiff, any order
compelling Defendants to respond would be prejudicial. The motion to compel is untimely, and
Plaintiff has presented the Court with no good cause reason to consider such a late-filed motion.

Therefore, for these reasons, the instant Motion, as applied to all three Defendants, is DENIED.

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IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: %OI¢.,} J/l_ ZOOJ/

   

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